Case 2:04-CV-02772-BBD-tmp Document 24 Filed 05/18/05 Page 1 of 6 Page|D 31

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lN THE UNITED STATES DISTRICT COURT ~
FOR THE WESTERN DISTRICT OF TENNESSEEB l~'i.l`:" l 9 '
WESTERN DIVISION

 

MICH_AEL HIGGINBOT']`OM and
DIANNE HIGGINBOTTOM,

Plaintiffs,
v. NO, 04-2772~D P
METHODIST HOSPITALS OF MEMPHIS,
T. MARTIN CARR, M.D., P.C., and in his
individual capacity, DR. MORRIS STALLINGS,

Defendants.

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Pursuant to written notice, a schedulingr conference was held between the parties on
Thursday, May `19, 2005 to consider amendments to the Scheduling Order previously entered
in this case. Present were J ames E. King, counsel for plaintiffs, Jeffrey A. Jarratt, counsel
for defendant l\/Iethodist, Elijah Noel, Jr., counsel for defendant T. Martin Carr, M.D., P.C.
("Carr”) and Michael E. Keeney, counsel for defendant Morris Stallings (“Stallings”). At
the conference, the following dates were proposed:

l . lnitial Disclosures: Initial Rule 26(a)( l) disclosures by Carr and Stallings shall
be made on or before Thursday, June 2, 2005. Initi al and any subsequent disclosures already
made by the original parties and not already furnished to Carr and Stallings shall be furnished

to Carr and Stallings within 5 business days.

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Case 2:04-cV-02772-BBD-tmp Document 24 Filed 05/18/05 Page 2 of 6 Page|D 32

2. Joinina Parties and Amended Pleadings: The parties shall amend their
pleadings and join any additional parties on or before Friday, July 8, 2005.

3. Initial l\/Iotions to Dismiss: Any initial motions to dismiss shall be filed on or
before Wednesday, August 31, 2005.

4. Colnoletion of all Discoverv: All discovery shall be completed on or

 

before 'l`uesday, January 31, 2006.
5. lixpert Witness Disclosure:
(a) Plaintiff`s’ Rule 26 expert information is to be provided on or before
Friday, October 28, 2005.
(b) Defendants’ Rule 26 expert information is to be provided on or before
Friday, December 2, 2005.
(c) Expert witness depositions are to be completed by the discovery
deadline
6. Filing Dispositive Motions: All dispositive motions shall be filed on or
before Friday, March 3, 2006.

7. Other Relevant Matters:

 

No depositions may be scheduled to occur after discovery cutoff without
permission of the Court. All motions, requests for admission or other filings that require a
response must be filed sufficiently in advance of the discovery cutoffto enable the opposing

party to respond by the time permitted by the rules prior to that date.

Case 2:04-cV-O2772-BBD-tmp Document 24 Filed 05/18/05 Page 3 of 6 Page|D 33

Motions to compel discovery are to be filed and served by the discovery deadline
within thirty days of default of the service of response, answer, or objection, which is the
subject of the motion. If a default occurs within the thirty days of the discovery deadline,
unless the time for filing such motion is extended for good cause shown, the objection to the
default, response, answer or objection shall be waived.

'l`his case is set for a jury trial. Trial is expected to iast 2-3 days.

The pretrial date, pretrial conference and trial date will be set by the Presidin g J udgc.

This case is appropriate for ADR. The parties believe that ADR should not be
scheduled until after the completion ofthe discovery in this matter.

Pursuant to Local Rule l l(a)(l j(A), all motions, except motions pursuant to F ederal
Rules ofCivil Procedure Rules 46, 59 or 60 shall be accompanied by a proposed order.

The parties recognize and acknowledge that a response to any motion must be filed
as required by the rule. Neither party may file an additional reply, however, to any motion
without leave of the Court. If a party believes that a reply is necessary, it shall file a motion
for leave to file a reply accompanied by a Memorandum setting forth reasons for which a
reply is required

The parties have not consented to a trial before the Magistrate Judge.

Case 2:04-cV-O2772-BBD-tmp Document 24 Filed 05/18/05 Page 4 of 6 Page|D 34

IT IS SO ORDERED.

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l\/[AGISTRATE JUDGE TU l\/l. PHAl\/I

DATE; §(1810{

APPROVED:

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Attorney for Defendant Methodist

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Attorney for Defendant Carr P. C

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i\/lichael E. Keeney (BPI{ # 1550) /%, /,_M Sgwt
Attorney for Defendant Stallings /

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02772 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listedl

ESSEE

 

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Case 2:04-cV-O2772-BBD-tmp Document 24 Filed 05/18/05 Page 6 of 6 Page|D 36

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Honorable Bernice Donald
US DISTRICT COURT

